     Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 1 of 22 Page ID #:1




 1     WILLIAM W. BLOCH, SBN 133139
       LA SUPERLAWYERS INC.
2      5670 Wilshire Boulevard, Suite 1300
       Los Angeles CA 90036
3      Telephone: (31Q) 477-7767
       lasuperlawyers@gmail.com
4
       Attorn�s for Defendant
5      JOHN B. BERZNER, an individual
 6

 7                           UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9
10     ALEC GLASSER, an individual;               Case No. 8:21-CV-00661
       THE DRAKE IN LAGUNA, LLC, a
11     California limited liability company,      [Removedfrom County of Orange,
                                                  Central Justice Center; Case No.: 30-
12                                                2020-01146408-CU-DF-CJC]
                        Plaintiffs,
13                                                DEFENDANT'S NOTICE OF
              V.                                  REMOVAL
14

15
       JOHN B. BERZNER, an individual;            Action filed: May 26, 2020 (State)
16     and DOES 1-20, inclusive,                  Trial date: October 24, 2022 (None set
                                                  in USDC)
17
                        Defendants.
18

19

20
21

22
       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
23
             PLEASE TAKE NOTICE that Defendant John B. Berzner ("Defendant")
24
       hereby removes the above-referenced action from the Superior Court of the State
25
       of California in and for the County of Orange, Central Justice Center, to the
26
       United States District Court for the Central District of California asserting
27
       original jurisdiction under 28 U.S.C. § 1332(a)(l) (Diversity), and removal
28
       jurisdiction under 28 U.S.C. § 1441, based on diversity of citizen jurisdiction.
                                                -1-
                                                            DEFENDANT'S NOTICE OF REMOVAL
     Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 2 of 22 Page ID #:2




 1     I.      BACKGROUND
 2             1.    Plaintiffs Alec Glasser and The Drake in Laguna, LLC ("Plaintiffs")
 3     filed an action against Defendant on or around May 26, 2020 in the Superior
 4     Court for the County of Orange, Central Justice Center, case entitled: Alec
 5     Glasser, et. al. v. John B. Berzner and given case number
 6     30-2020-01146408-CU-DF-CJC. On or around August 20, 2020, Plaintiffs filed a
 7     First Amended Complaint ("FAC") in this action (the "State Court Action").
 8             2.    In their F AC, Plaintiffs purport to allege claims against Defendant
 9     for Libel, Intentional Interference with Prospective Economic Relations, and
10     Negligent Interference with Prospective Economic Relations.
11             3.    As discussed in greater detail below, Defendant is a citizen of New
12     York.
13             4.    On or about January 26, 2021, Judge Nathan Scott of the County of
14     Orange, Central Justice Center, ordered that Plaintiffs may serve Defendant
15     through publication of the summons and FAC in this action. This was ordered
16     under the premise that publication is expected to give actual notice to the party to
17     be served. A true and correct copy of the State Court Action's Docket is attached
18     hereto as Exhibit A. A true copy of this Order for publication, dated January 26,
19     2021, is attached hereto as Exhibit B. A true and correct copy of the State Court
20     Actions's Summons and First Amended Complaint are collectively attached
21     hereto as Exhibit C.
22             5.    In their prayer for relief, Plaintiffs pray for judgement against
23     Defendant for general damages in the amount of $200,000, special damages,
24     punitive damages, compensatory damages, and requests injunctive relief against
25     Defendant which would require Defendant to remove his Yelp review concerning
26     Plaintiffs.
27             6.    Exhibit C constitutes all pleadings that were served via publication
28     on Defendant in the State Court Action. Defendant had not been deemed served

                                                 -2-
                                                             DEFENDANT'S NOTICE OF REMOVAL
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 1     via publication with these pleadings until 30 days after the 28 days that follow the
 2     first day of publication. Thus, Defendant's response to the FAC would not be due
 3     prior to March 26, 2021.
 4               7.    On or around March 17, 2021, Plaintiff granted Defendant a 15-day
 5     extension to respond to the instant Complaint, to and including April 9, 2021. See
 6     Exhibit D hereto. Thus, this request for removal is timely.
 7     II.       DIVERSITY JURISDICTION
 8               8.    This Court has original jurisdiction under 28 U.S.C. § 1332 and
 9     Defendant may remove it from state court to federal court pursuant to 28 U.S.C. §
10     1441 because it involves a controversy which exceeds the sum or value of
11     Seventy-Five Thousand Dollars ($75,000) and is between citizens of different
12     states.
13     III.      CITIZENSHIP OF THE PARTIES
14               A.    Plaintiffs' Citizenship
15               9.    Plaintiff Alec Glasser is an individual who resides in Laguna Beach,
16     Orange County, California. See FAC 1 l.PlaintiffThe Drake in Laguna, LLC, is a
17     limited liability company formed under the laws of the state of California, with its
18     principal place of business in Laguna Beach, Orange County, California. See
19     FAC 12.
20               B.    Defendant's Citizenship
21               10.   As of the time this action was filed, and as of the time of removal,
22     Defendant is a citizen of New York, and the only named Defendant. There are no
23     defendants in this action that are citizens of California.
24               C.    Doe Defendants
25               11.   Pursuant to 28 U.S.C. § 144l(a), the residence of fictitious and
26     unknown defendants should be disregarded for purposes of establishing removal
27     jurisdiction under 28 U.S.C. § 1332. Fristoe v. Reynolds Metals Co., (9th Cir.
28     1980) 615 F.2d 1209, 1213 (unnamed defendants are not required to join in a

                                                   -3-
                                                              DEFENDANT'S NOTICE OF REMOVAL
     Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 4 of 22 Page ID #:4



 1     removal petition). Thus, the existence of Doe defendants one through 20 does not
 2     deprive this Court of jurisdiction.
 3     IV.   THIS APPLICATION FOR REMOVAL HAS BEEN TIMELY FILED
 4           12.     Under 28 U.S.C. § 1446(b), there are "two thirty-day windows
 5     during which a case may be removed-during the first thirty days after the
 6     defendant receives the initial pleading or during the first thirty days after the
 7     defendant receives a paper 'from which it may first be ascertained that the case is
 8     one which is or has become removable' if 'the case stated by the initial pleading
 9     is not removable."' Harris v. Bankers Life & Cas. Co., (9th Cir. 2005) 425 F.3d
10     689, 692.
11           13.     As stated above in para. 7, Plaintiff granted Defendant an extension
12     until April 9, 2021 to respond to Plaintiffs instant Complaint. Thus, this request
13     for removal is timely.
14     V.    VENUE
15            14.    Plaintiffs originally filed this action in the Superior Court for the
16     County of Orange, Central Justice Center. The County of Orange lies within the
17     jurisdiction of the United States District Court, Central District of California,
18     Southern Division.
19            15 .   Therefore, without waiving Defendant's right to challenge, among
20     other things, personal jurisdiction, insufficient service of process, and/or venue
21     by way of a motion or otherwise, venue lies in the Central District of this Court
22     pursuant to 28 U.S.C. Sections 84(c), 144l(a), and 1446(a). This Court is the
23     United States District Court for the district within which the State Court Action is
24     pending. Thus, venue lies in this Court pursuant to 28 U.S.C. § 1441(a).
25     VI.   ALL NECESSARY PARTIES HAVE JOINED IN THIS REMOVAL
26            16.    As noted above, Defendant has become aware or the court order re
27     publication of the Complaint, the Summons, and other documents in this action.
28


                                                  -4-
                                                             DEFENDANT'S NOTICE OF REMOVAL
     Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 5 of 22 Page ID #:5



 1     Defendant's appearance prior to April 9, 2021 makes the instant removal
 2     effective and timely. See Exhibit D.
 3           17.    Defendant is unaware of any other defendant that exists and who has
 4     been named in the Complaint, or who has been served with a summons and the
 5     Complaint. The only defendants named in Plaintiffs' Complaint are John B.
 6     Berzner, and fictitiously named Doe defendants whose presence is disregarded for
 7     purposes of removal.
 8     VIL   NOTICE OF REMOVAL
 9           18.    This Notice of Removal will be promptly served on Plaintiffs and
10     filed with the Clerk of the Superior Court of the State of California in and for the
11     County of Orange, Central Justice Center.
12           19.    In compliance with 28 U.S.C. § 1446(a), true and correct copies of
13     all "process, pleadings, and orders served" upon or by Defendant in this action
14     are attached hereto as Exhibit C.
15           20.    This Notice is signed pursuant to Rule 11, Fed. R. Civ. P., as
16     required by 28 U.S.C. § 1446(a).
17           WHEREFORE, having provided notice as is required by law, Defendant
18     requests the above entitled action pending before the Superior Court of the state
19     of California for the County of Orange, Central Justice Center, be removed to the
20     United States District Court for the Central District of California, Southern
21     Division
22     DATED: April    i_,2021                LA SUPERLAWYERS INC.
23
                                                      (J\;r~
                                              By_--'-------------
24
                                                          William W. Bloch
25                                            Attorneys for Defendant
26                                            JOHN B. BERZNER

27

28


                                                -5-
                                                           DEFENDANT'S NOTICE OF REMOVAL
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Exhibit A
               Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 7 of 22 Page ID #:7
Case Summary:
Case Id:     30-2020-01146408-CU-DF-CJC
Case Title: ALEC GLASSER VS. JOHN B BERZNER
Case Type: DEFAMATION
Filing Date: 05/26/2020
Category: CIVIL - UNLIMITED
Register Of Actions:
                                                                      Filing Filing
ROA                                   Docket                                         Document Select
                                                                       Date    Party
       E-FILING TRANSACTION 2913518 RECEIVED ON 05/26/2020 04:18:50
   1                                                                07/02/2020           NV
                                        PM.
       COMPLAINT FILED BY GLASSER, ALEC; THE DRAKE IN LAGUNA,
   2                                                                05/26/2020         7 pages
                                LLC ON 05/26/2020
           CIVIL CASE COVER SHEET FILED BY GLASSER, ALEC; THE
   3                                                                05/26/2020         2 pages
                     DRAKE IN LAGUNA, LLC ON 05/26/2020
         SUMMONS ISSUED AND FILED FILED BY GLASSER, ALEC; THE
   4                                                                05/26/2020         1 pages
                     DRAKE IN LAGUNA, LLC ON 05/26/2020
         PAYMENT RECEIVED BY ONELEGAL FOR 194 - COMPLAINT OR
   5      OTHER 1ST PAPER IN THE AMOUNT OF 435.00, TRANSACTION 07/02/2020              1 pages
               NUMBER 12748249 AND RECEIPT NUMBER 12574671.
          CASE ASSIGNED TO JUDICIAL OFFICER SCOTT, NATHAN ON
   6                                                                05/26/2020         1 pages
                                    05/26/2020.
          MANDATORY SETTLEMENT CONFERENCE SCHEDULED FOR
   7                                                                07/28/2020         2 pages
        09/23/2022 AT 09:00:00 AM IN C15 AT CENTRAL JUSTICE CENTER.
       JURY TRIAL SCHEDULED FOR 10/24/2022 AT 09:00:00 AM IN C15 AT
   8                                                                07/28/2020         2 pages
                           CENTRAL JUSTICE CENTER.
       E-FILING TRANSACTION 2933047 RECEIVED ON 08/20/2020 12:36:05
   9                                                                10/06/2020           NV
                                        PM.
        AMENDED COMPLAINT (FIRST) FILED BY GLASSER, ALEC; THE
 10                                                                 08/20/2020         7 pages
                     DRAKE IN LAGUNA, LLC ON 08/20/2020
           E-FILING TRANSACTION 41123849 RECEIVED ON 10/15/2020
  11                                                                10/15/2020           NV
                                  11:06:58 AM.
        PROOF OF SERVICE OF SUMMONS FILED BY GLASSER, ALEC ON
 12                                                                 10/15/2020         3 pages
                                    10/15/2020
 13          E-FILING TRANSACTION NUMBER 41123898 REJECTED.         11/23/2020         1 pages
 14                PROPOSED ORDER RECEIVED ON 01/21/2021            01/21/2021         3 pages
       E-FILING TRANSACTION 1805397 RECEIVED ON 01/21/2021 05:38:56
 15                                                                 01/26/2021           NV
                                        PM.
       EX PARTE APPLICATION - OTHER FILED BY GLASSER, ALEC; THE
 16                                                                 01/21/2021        54 pages
                     DRAKE IN LAGUNA, LLC ON 01/21/2021
        PROPOSED ORDER (COVER SHEET) (ELECTRONIC FILING) FILED
 17                                                                 01/21/2021         4 pages
        BY GLASSER, ALEC; THE DRAKE IN LAGUNA, LLC ON 01/21/2021
       PAYMENT RECEIVED BY ONELEGAL FOR 36 - MOTION OR OTHER
         (NOT 1ST) PAPER REQUIRING A HEARING IN THE AMOUNT OF
 18                                                                 01/26/2021         1 pages
        60.00, TRANSACTION NUMBER 12836378 AND RECEIPT NUMBER
                                     12663797.
         EX PARTE SCHEDULED FOR 01/26/2021 AT 01:30:00 PM IN C15 AT
 19                                                                 01/26/2021           NV
                           CENTRAL JUSTICE CENTER.
           E-FILING TRANSACTION 41151577 RECEIVED ON 01/21/2021
 20                                                                 01/26/2021           NV
                                   05:38:52 PM.
       ORDER - OTHER FILED BY THE SUPERIOR COURT OF ORANGE ON
 21                                                                 01/26/2021         2 pages
                                    01/26/2021
              Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 8 of 22 Page ID #:8
                                                                        Filing Filing
ROA                                 Docket                                             Document Select
                                                                         Date    Party
  22       MINUTES FINALIZED FOR EX PARTE 01/26/2021 01:30:00 PM.     01/26/2021        1 pages
  23       CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE          01/26/2021        2 pages
       E-FILING TRANSACTION 3984526 RECEIVED ON 02/25/2021 09:34:45
  24                                                                  02/25/2021          NV
                                     AM.
  25      AFFIDAVIT - OTHER FILED BY GLASSER, ALEC ON 02/25/2021      02/25/2021        1 pages
Participants:
                      Name                         Type           Assoc     Start Date     End Date
JOHN B BERZNER                              DEFENDANT                    07/02/2020
THE DRAKE IN LAGUNA, LLC                    PLAINTIFF                    07/02/2020
BORCHARD & CALLAHAN, APC                    ATTORNEY                     07/02/2020
ALEC GLASSER                                PLAINTIFF                    07/02/2020
JOHN B. BERZNER                             DEFENDANT                    07/02/2020
Hearings:
                        Description                         Date      Time     Department      Judge
JURY TRIAL                                            10/24/2022     09:00 C15               SCOTT
MANDATORY SETTLEMENT CONFERENCE                       09/23/2022     09:00 C15               SCOTT
                           Print this page
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Exhibit B
Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 10 of 22 Page ID #:10
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Exhibit C
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Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 15 of 22 Page ID #:15
Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 16 of 22 Page ID #:16
Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 17 of 22 Page ID #:17
Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 18 of 22 Page ID #:18
Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 19 of 22 Page ID #:19
Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 20 of 22 Page ID #:20
Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 21 of 22 Page ID #:21




Exhibit D
    Case 8:21-cv-00661 Document 1 Filed 04/09/21 Page 22 of 22 Page ID #:22




 William W. Bloch                                                                                 Telephone
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 Sanford Jossen                                                                                    Facsimile
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                                                    Suite 1300
          of counsel                                                                                 E-mail
                                           Los Angeles, California 90036
                                                                                 lasuperlawyers@gmail.com




                                               March 17, 2021



VIA EMAIL ONLY

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                    Re:    Glasser, et al. v. Berzner: Case No: 30-2020-01146408-CU-DF-CJC


Dear Counsel:

               Following up on our phone call earlier today, this letter confirms that you granted
Defendant a fifteen day extension, to an including April 9, 2021, to file a response to the Complaint in
the above-referenced action

                    Thank you for your professional courtesy.

                                                  Very truly yours,

                                                  LA SuperLawyers Inc.




WWB/ats
cc: Client
    Karla Garcia
